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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


    GARFIELD ANTHONY WILLIAMS,
                                                                               Index No. 20-CV-5995
                                        Plaintiff,
                                                                       PLAINTIFF’S RESPONSE TO
                             vs.                                      DEFENDANTS’ STATEMENT OF
                                                                    UNDISPUTED FACTS PURSUANT TO
    CITY OF NEW YORK, et al.                                               LOCAL RULE 56.1

                                        Defendants.



         Pursuant to Local Rule 56.1, Plaintiff hereby responds to each Defendant’s 56.1

Statements as follows:

                           RESPONSES TO DEFENDANT’S 56.1 STATEMENT 1

Events Leading Up to the Car Accident on December 15, 2019


         1.        On December 14, 2019, plaintiff, Garfield Anthony Williams, was employed at

the Westchester Medical Center as a Patient Care Technician. (Deposition Transcript of

Garfield Anthony Williams (“Pl. Dep. Tr.) annexed as Exhibit A to the Declaration of William

Thomas Gosling dated April 6, 2022 (“Gosling Decl.”), at 21:15-18).

                   RESPONSE: Undisputed.

         2.        On Saturday, December 14, 2019, plaintiff was working at the Westchester

Medical Center located at 100 Woods Road, Westchester, New York and ended his shift at

11:00 p.m. (Exhibit A at 21:9-25; 22:14-15.).

                   RESPONSE: Undisputed.


1 Plaintiff will cite to their own exhibits in their responses. Plaintiff’s exhibits will be listed as e.g. “P.A” “P.B” or
“P.C”

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       3.      Plaintiff drove to and from work on December 14, 2019 in his Nissan Altima.

(Exhibit A at 26:5-16; 26:24-27:10.).

               RESPONSE: Undisputed.


The Car Accident


       4.      On December 15, 2019, on or about 12:08 a.m., plaintiff was involved in an

automobile accident on the Bronx River Parkway around the East 177th Street Exit. (Police

Accident Report, annexed as Exhibit B to Gosling Decl.; Exhibit A 28:19-23.).

               RESPONSE: Undisputed.

       5.      While driving Southbound on the Bronx River Parkway, plaintiff hit another

vehicle, crashing into the other vehicle’s rear. (Exhibit B; Exhibit A at 30:15-24.).

               RESPONSE: Disputed. Misleading. Plaintiff was hit by a third car that caused

       him to inadvertently hit the rear of another vehicle. [ Exhibit P.A at 85-86: 25-8]


       6.      After the accident, at around 12:08:45 a.m., the other driver involved in the car

accident with plaintiff called 911 and reported that he was just involved in automobile accident

on the Bronx River Parkway at East 177 Street. (NYPD Sprint Report, annexed as Exhibit C to

Gosling Decl. at Bates No. DEF_00146-00147.)

               RESPONSE: Disputed. This “fact” fails to meet the requirements of 56.1(d) as

       this evidence is not admissible. First, the evidence is not admissible because it was not

       disclosed pursuant to Rule 26. Second, it is not admissible because it is not relevant, as

       neither Officer Hernandez nor Officer Ottaviano were aware of this purported 911 call.

       It is well established that the false arrest analysis involves the information that was

       known to the Officers at the time of arrest. Information that is unknown has no

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       relevance to any determination. [Exhibit P.C at 39: 14-25; 40:6-10][Exhibit P.D at 35:12-

       15]


       7.        The 911 caller reported that the motor vehicle accident involved a Nissan

Altima. (Id.).

                 RESPONSE: Disputed. This “fact” fails to meet the requirements of 56.1(d) as

       this evidence is not admissible. First, the evidence is not admissible because it was not

       disclosed pursuant to Rule 26. Second, it is not admissible because it is not relevant, as

       neither Officer Hernandez nor Officer Ottaviano were aware of this purported 911 call.

       Because the false arrest analysis involves the information that was known to the

       Officers at the time of arrest, information that is unknown has no relevance to any

       determination.


       8.        At 12:09.05 the 911 caller stated that the “driver in Nissan is intoxicated.” (Id.

at DEF_00147.)

                 RESPONSE: Disputed. This “fact” fails to meet the requirements of 56.1(d) as

       this evidence is not admissible. First, the evidence is not admissible because it was not

       disclosed pursuant to Rule 26. Second, it is not admissible because it is not relevant, as

       neither Officer Hernandez nor Officer Ottaviano were aware of this purported 911 call.

       Because the false arrest analysis involves the information that was known to the

       Officers at the time of arrest, information that is unknown has no relevance to any

       determination.


       9.        Plaintiff’s vehicle, the Nissan, was extremely damaged from the car accident.

(Photographs of the Plaintiff’s car, annexed as Exhibit D, to Gosling Decl.)

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               RESPONSE: Undisputed.


NYPD Emergency Service Unit—Detective Leon—Response to the Accident:


       10.     Members of the NYPD’s Emergency Service Unit (“ESU”), which included

Detective Leon, did not report to the accident location as a result of a radio run. Instead, ESU

“was coming from a prior job in the North part of the Bronx and was heading southbound

when [they] came upon this accident on the Bronx River Parkway” (Deposition Transcript of

retired Detective Ruben Leon, annexed as Exhibit E to Gosling Decl. at 13:16-24; See also Body

Worn Camera Video of Police Officer Ottaviano, annexed as Exhibit H.).

               RESPONSE: Undisputed.


       11.     After arriving on the accident scene, Detective Leon observed three vehicles.

One vehicle was left in the left lane, and two vehicles were in the right lane blocking traffic.

(Exhibit E at 14:18-15:2.) .

               RESPONSE: Undisputed.


       12.     Detective Leon observed the vehicle in the left lane was unoccupied. One of the

vehicles in the right lane had two people inside the car, a woman in the driver seat and a male

(the plaintiff) in the back seat. Detective Leon approached the vehicle with the two people

inside and spoke with the woman in the driver seat. He asked the woman if she was ok and the

woman replied that she was not involved in the car accident but indicated that the male in the

back seat was involved in the accident. (Exhibit E at 15:25-16:17; See also Exhibit H.).




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                RESPONSE: Disputed.       Detective Leon observed Plaintiff sitting on the

       passenger side. “So there was a guy on her passenger side sitting in the car with her.”

       (Exhibit P.B at 16:3-16:13.).


       13.      Detective Leon requested assistance for a sector car from the 48th Precinct to

respond to the accident location and remained on the scene until officers from the 48th

Precinct arrived at the accident location. (Exhibit P.E at 20:13-24; 23:7-10.).

                RESPONSE: Undisputed.


Officers from the 48 Precinct Arrive to the Accident Location:


       14.      Police Officers Oscar Hernandez and Joseph Ottaviano from the 48th Precinct

responded to a 911 radio call and arrived at the accident scene located at the Bronx River

Parkway southbound at the 177th Street Exit. (Deposition of Police Officer Oscar Hernandez,

annexed as Exhibit F to Gosling Decl. at 39:14-24; 41:22-24; Deposition of Police Officer Joseph

Ottaviano, annexed as Exhibit G to Gosling Decl. at 34:22-35:7.).

                RESPONSE: Disputed. Officer Hernandez says they were responding to a central

       dispatch job regarding a vehicle accident. [Exhibit P.C at 40: 6-10]


       15.      Police Officer Ottaviano and Police Officer Hernandez both received training

from the NYPD regarding the signs of intoxication for a DWI. (Exhibit G at 26:15-18; Exhibit F

at 31:8-18.).

                RESPONSE: Undisputed. Though this training occurred at the Academy and

       neither received any supplemental training. [ Exhibit P.C at 32-33-32: 25-6] [Exhibit P.D

       at 28:4-9]



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Police Officer Ottaviano’s Observations:


       16.      After arriving on the accident scene, Police Officer Ottaviano briefly spoke with

the plaintiff while he was sitting in the backseat of a vehicle; a vehicle in which a woman was

in the driver’s seat. (Exhibit G at 43:1-44:24.).

               RESPONSE: Disputed. Officer Hernandez stated that he and Officer Ottaviano

       attempted to speak to Plaintiff but were stopped by Eugene Touissant, Plaintiff’s

       attorney. He then states that Officer Ottaviano goes to talk to the driver of the vehicle

       and then Officer Hernandez and Ottaviano open the door to the vehicle and arrest

       Plaintiff. Therefore, according to Officer Hernandez’s account Officer Ottaviano did

       not and could not have spoken to Plaintiff. [Exhibit P.C at 52-54:11 – 20].


       17.     While on the scene, Police Officer Ottaviano made the following observations

of impairment for Plaintiff: “[Plaintiff] had a moderate odor of alcohol on his breath, he had a

little slurred speech, and his eyes were bloodshot, watery.” (Exhibit G at 50:8-19; 55:19-23.).

               RESPONSE: Disputed. The “moderate smell of alcohol” is disputed by Plaintiff

               and the affidavit of Celia Burgos. [Exhibit P.A at 26: 17-18; Exhibit P.E Celia

               Burgos Affidavit]. The “slurred speech” is disputed by Officer Hernandez’s

               written observations, [Exhibit P.F: Arresting Officer Observations] [Exhibit P.E:

               Celia Burgos Affidavit], and BodyWorn Camera -where you can hear Plaintiff

               speak. [Exhibit P.G, BodyCamera Video at 00:32 -00:55 and 1:21 – 1:30]. The

               bloodshot, watery eyes are disputed by the affidavit of Celia Burgos. [ Exhibit

               P.E: Celia Burgos Affidavit]

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       18.     Police Officer Ottaviano also spoke with the driver of the other vehicle (a Jeep)

involved in the car accident, Mr. Carlos Jimenez, regarding the accident. (Exhibit G at 47:2-20;

See also Exhibit B.).

               RESPONSE: Undisputed. Though this conversation took place after the arrest

       and therefore is not a “material fact” under Rule 56.1.


       19.     Mr. Jimenez informed Officer Ottaviano that he observed plaintiff stumbling

when he got out of his vehicle and that plaintiff appeared to be “messed up” (Exhibit G at

47:16-48:2) (lit. “fucked up” (See Exhibit H, at timestamp 5:04 to 5:46 to Gosling Decl.)).

               RESPONSE: Disputed. Misleading. This information is not reported to the

       arresting officer until hours after the arrest, after Plaintiff leaves the hospital and is

       taken back to the precinct. Therefore, when analyzing what Officer Hernandez knew

       at the time of arrest, this information is not relevant and not admissible. In addition,

       this statement is misleading, as the driver indicated that he was “fucked up” as a result

       of the accident, not as indicia of intoxication. 2


Police Officer Hernandez’s Observations:


       20.     After arriving at the accident location, Officer Hernandez spoke with a member

from ESU. That ESU officer reported to Officer Hernandez that there was a vehicle accident

and the driver of one of the vehicles who was sitting in the backseat of another vehicle—

plaintiff—seemed to be impaired. (Exhibit F at 44:4-24; 45:21-46:5.).


2 The Driver’s Exact Statement Is: “I was driving in the middle lane and just out of nowhere, he
ran into the back of me, he spun out, hit the wall, and then they came and moved it over to this
side. He was stumbling, we have a vide0- he was all fucked up when he got out of the car. He
was actually pinned at first.”

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               RESPONSE: Disputed. Detective Leon testified he spoke to a member of the 48th

        Precinct when they arrived and Officer Hernandez testified that he spoke to a member

        of ESU. Given that Detective Leon had already spoke to all parties and that had been

        involved in the car accident, and collected all parties license and registration, it is

        reasonable to infer that he was the officer. Regardless, the burden is on the Defendant

        to establish this fact as undisputed and they are unable to with the Record we currently

        have. [Exhibit P.B. at 20:18-22;23:7-16].


        21.    After the conversation with the ESU officer, Police Officer Hernandez

approached the vehicle that plaintiff was in to find out information concerning the accident.

Once Officer Hernandez got to car plaintiff was sitting in a male wearing a Christmas sweater

told Officer Hernandez that he was not permitted to speak with his “client” (Exhibit F at 46:13-

22.).

               RESPONSE: Disputed.         The evidence suggests that Officer Hernandez

        approached the vehicle not trying “to find out information concerning the accident,”

        but with the intent to arrest Plaintiff, as they almost immediately opened the door once

        they arrived and placed him under arrest without asking him any questions about

        intoxication, alcohol, or performing a breathalyzer or coordination tests.         It is

        undisputed that Plaintiff’s right to counsel was invoked and ignored by the Officers.

        [Exhibit P.C at 53-54: 17 -20]


        22.    During the time Officer Hernandez was in front of the plaintiff he made the

following observations of impairment of plaintiff: “bloodshot eyes and watery eyes.” (Exhibit

F at 53:23-54:12.).


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               RESPONSE: Disputed. [ Exhibit P.E: Affidavit of Celia Burgos]


Plaintiff’s Arrest:


       23.     After making his own observations of the plaintiff’s impairment, coupled with

the 911 radio call reporting that plaintiff was intoxicated, in accordance with his training and

experience, Police Officer Ottaviano placed plaintiff under arrest for suspicion of driving under

the influence in violation of Vehicle and Traffic Law § 1192 (03). (Exhibit F at 54:13-20; Arrest

Report, annexed as Exhibit I to Gosling Decl.).

               RESPONSE: Disputed. Officer Hernandez’s observations have already been

       shown to be disputed. See, Response to #17. Also, there is no mention of the arrest being

       based on “training and experience” in Defendant’s citation.


       24.     After plaintiff was placed under arrest Officer Hernandez made additional

observations of plaintiff’s impaired condition. The observations were “a moderate odor of

alcohol coming from his breath [and] swaying, imbalanced.” (Exhibit F at 54:13-20.).

               RESPONSE: Disputed. The moderate alcohol is disputed by Plaintiff [Exhibit

       P.A. at 26:17-18; Exhibit P.E: Celia Burgos Affidavit],and the swaying, imbalanced after

       the arrest is disputed by the Affidavit of Celia Burgos [Exhibit P.E: Celia Burgos

       Affidavit]


       25.     After the plaintiff was arrested he was taken to an ambulance on the scene to be

examined and brought to Jacobi Hospital. (Exhibit G at 68:24-69:12; Exhibit B).

               RESPONSE: Undisputed.


Plaintiff’s Treatment and Refusal to Submit to Testing at Jacobi Hospital:


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       26.      At the hospital, plaintiff was asked to submit to a blood test for alcohol but the

plaintiff refused. (NYPD Arresting Officer’s Report Intoxicated Driver Arrest, annexed as

Exhibit J to Gosling Decl.).

                RESPONSE: Disputed. First, this is not a material fact as Plaintiff had a statutory

       right to refuse and the refusal had no impact on either Officer’s probable cause

       determination. Second, the refusal was technically made by Plaintiff’s attorney on his

       behalf. [Exhibit P.K: IDTU Paperwork]


       27.      Plaintiff did not sustain any physical injuries as a result of his arrest. (Exhibit A

at 103:2-5.).

                RESPONSE: Undisputed. To clarify, the police officers did not physically assault

       Plaintiff.


       28.      Plaintiff also did not sustain any emotional injuries as a result of his arrest.

(Exhibit A at 103:6-20.).

                RESPONSE: Disputed. [Exhibit P.A at 132:3-6 ; 107:12-14]


Plaintiff’s Criminal Charges:


       29.      Plaintiff’s criminal charges were dismissed prior to arraignment on December

15, 2019, by the Bronx District Attorney’s Office because the other driver involved in the car

accident, Mr. Jiminez, refused to cooperate with the Bronx District Attorney’s Office in

connection with the criminal case. (Affidavit in Support of Declining to Prosecute by Assistant

District Attorney Susan Kaczmarczyk, annexed as Exhibit K to Gosling Decl.).




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                RESPONSE: Disputed. Officer Hernandez states that the driver thought that he

        and ADA Kaszmarcyk were actually the attorney for Plaintiff. Therefore, under Officer

        Hernandez’s version of events, the driver did not refuse to cooperate with the BXDA he

        did not believe it was the BXDA calling him. [Exhibit P.C at 85: 1-14].


Plaintiff’s Property:


        30.     Before leaving the precinct, the plaintiff was offered a NYPD Property Voucher,

Invoice No. 2000930421, for his vehicle. (NYPD Property Clerk Invoice, annexed as Exhibit L

to Gosling Decl.).

                RESPONSE: Disputed. Plaintiff testified that he was released with “no ID, no

        Metrocard, no phone, nothing.” [Exhibit P.A at 90:6-9]


        31.     The Property Clerk Invoice provides detail instructions for how to obtain your

property back and provides notice for the consequences of failing to claim your property.

(Exhibit L.).

                RESPONSE:          Undisputed.   Though    “detailed    instructions”    is   a

        mischaracterization, for the purposes of the Rule 56.1 statement the fact is undisputed.


        32.     Plaintiff refused to accept the NYPD Property Clerk Invoice for his vehicle.

(Exhibit L.).

                RESPONSE: Disputed.        Plaintiff was not offered a property clerk invoice.

        [Exhibit P.A at 90: 6-9]


        33.     Additionally, on January 22, 2020, plaintiff was mailed a letter from the NYPD

Property Clerk Division with instructions for how to obtain his property back and the


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consequences of failing to claim the property. (Letter dated January 22, 2022, from NYPD

Property Clerk Division, annexed as Exhibit M to Gosling Decl.).

                RESPONSE: Undisputed.


          34.   Plaintiff received the letter dated January 22, 2020, from NYPD on or about

February 2, 2020 after he signed for it by certified mail. (Certified Mail Receipt, annexed as

Exhibit N to Gosling Decl.).

                RESPONSE: Undisputed.


          35.   On March 31, 2020, plaintiff went to the Springfield Gardens Auto Pound and

received his plates back but abandoned his vehicle. (Exhibit L.).

                RESPONSE: Disputed. The NYPD refused to provide Plaintiff his vehicle.

          [Exhibit P.A AT 112-113:23-5]


                            PLAINTIFF’S ADDITIONAL MATERIAL FACTS

          1.P   Plaintiff left work around 11:15 to 11:20. He was headed directly home after he

left work and did not stop anywhere else after leaving work. [ Exhibit A at 27:3-13]

          2.P   Plaintiff did not consume alcohol or drugs in the 24 hours prior to December

14, 2019. Plaintiff does not have alcohol in his locker located at Westchester Medical Center

nor did Plaintiff have any alcohol or drugs in his vehicle on December 14, 2019. [Exhibit A at

27--28]

          3.P   Plaintiff’s job at WMC involved preparing patients for surgery.. Plaintiff is

strictly prohibited from drinking alcohol at work and if any member of the staff thought

Plaintiff was drinking it would lead to immediate termination. [Exhibit A at 146-147:24-6]



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       4.P     While driving directly home after work, Plaintiff was hit in the rear by another

vehicle cause causing him to hit another car, then spin across the highway, and hit the

shoulder guard head on. As a result of the collision, the trunk lid was forced up and back into

the windshield of the vehicle, causing the windshield to partially shatter and airbags to

deploy. Plaintiff was pinned down in the vehicle before being able to free himself. [Exhibit A

at 85-86: 25-9; Exhibit I: EMT Report; Exhibit G: BodyCam Video at 5:10 -5:40]

       5.P     Celia Brugos was driving to Plaintiff’s home and observed the car accident on

the highway. Ms. Burgos stopped and provided assistance to Plaintiff. Plaintiff informed her

that he was having trouble breathing. Ms. Burgos then called 911 requesting medical

attention. [Exhibit E: Celia Brugos Affidavit].

       6.P     Detective Leon was the first police officer to arrive on the scene. He collected

Plaintiff’s license and registration and spoke to Celia Burgos with the windows down and

Plaintiff in the passenger seat. Detective Leon did not smell any alcohol. [Exhibit B at 19:8-

15; 17:13-19; 25-26: 25-3]

       7.P     At the scene, Eugene Touissant invocked Plaintiff’s right to counsel. Detective

Leon honored the request but informed Mr. Touissant that he still needed licenses and

registration. [Exhibit B at 19: 4-15] .

       8.P     Detective Leon also spoke to the other driver involved in the accident, the

driver did not mention Plaintiff’s condition or any suspicion of a DWI. [Exhibit B at 22:3-14]

       9.P     Detective Leon called in to the dispatcher a car accident only – there was no

mention of a DWI. After members of the 48th precinct arrived, Detective Leon gave the license

and registration to Officer Hernandez. He did not mention anything regarding a DWI. [

Exhibit B at 20:18-22; 23:7-16]

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       10.P    Police Officers Hernandez and Ottaviano do not have training in how to

provide DWI coordination tests. Officer Hernandez does not know what a preliminary breath

test is. [Exhibit D at 63-64: 19-5][Exhibit C at 76:511; 127:14-18].

       11.P    Officers Hernandez and Ottaviano did not receive any supplemental training

on DWI signs of intoxication since the Academy. [Exhibit D at 28:4-9] [Exhibit C at 31-32: 25-

6]

       12.P    Officers Hernandez and Ottaviano responded to the scene of the accident.

They were responding to a central dispatch job for a car accident only. [Exhibit C at 40:6-10]

       13.P    Officer Hernandez did not have on his bodycam because there was no suspicion

of a crime in progress. [Exhibit C at 39:8-13]

       14.P    Officer Hernandez arrested Plaintiff without speaking to him, without

speaking to the other driver involved in the accident, and without speaking to his partner. [

Exhibit D at 66:15-20]

       15.P    Officer Hernandez arrested Plaintiff without smelling alcohol. [Exhibit C at 62

4-7]

       16.P    Officer Hernandez arrested Plaintiff without conducting an investigation.

[Exhibit C at 52:11-22 and 54: 13-20]

       17.P    Officer Ottaviano did not speak to the driver of the vehicle involved in the car

accident until after Plaintiff was arrested. [Exhibit D at 69:16-21]

       18.P    Officer Ottaviano did not ask the driver any questions regarding intoxication

of Plaintiff. [Exhibit G at 5:10 – 5:40]

       19.P    Officer Hernandez did not hear Officer Ottaviano’s observations until Plaintiff

was at the precinct. [Exhibit D at 64:17-21].

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       20.P    Plaintiff was evaluated by EMT at the scene. They recorded his version of

events and did not mention any signs of intoxication or alcohol in their report. [Exhibit I:

EMT Report]

       21.P    Officers informed Celia Burgos and Eugene Tousissant that Plaintiff was being

taken to Lincoln Hospital. Plaintiff was not taken there. Plaintiff was in fact taken to Jacobi

Medical Center. [Exhibit E: Celia Burgos Affidavit]

       22.P    When Plaintiff and the officers arrived at the hospital, Officer Hernandez went

back to the 48th precinct to get shackles to place on the legs of Plaintiff. [ Exhibit C at 69:6-16]

       23.P    Officer Hernandez did not smell alcohol on Plaintiff’s breath while Plaintiff

was at the hospital or after. [Exhibit C at 70:6-14].

       24.P    Plaintiff complained to the Officers about the shackles being too tight as well

as the handcuffs. The Officers only loosened the handcuffs. [ Exhibit A at 80:4-6; 80-81:22-

4]

       25.P    While at the Hospital, the IDTU Technician arrived and, when given the

opportunity to say that “yes” Plaintiff was intoxicated, chose not to.[Exhibit K: IDTU Report].

       26.P    Plaintiff was examined by a medical professional who indicated, inter alia, that

Plaintiff was not intoxicated. [Exhibit J: Plaintiff Medical Records]

       27.P    The Officers did not ask the Doctor’s opinion on whether Plaintiff was

intoxicated.

       28.P    Despite these new developments, Officer Hernandez said that there was no new

information that he could be presented with that would change his determination that

Plaintiff was intoxicated. [Exhibit C at 80:4-14]



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       29.P    Plaintiff was then taken back to the precinct, where Officer Hernandez spoke

with ADA Susan Kascymark regarding the arrest. [Exhibit C at 82:16-20 and 84:7-11]

       30.P    ADA Susan Kascymark called Carlos Jimenez, with Officer Hernandez present,

and introduced herself as a member of the Bronx District Attorney’s Office. [Exhibit C at

86:4-11]

       31.P    Plaintiff, knowing this information, chose not to cooperate with the

prosecution. [Exhibit L: Decline to Prosecute Memorandum] [ Exhibit C at 88: 21-25]

       32.P    Officer Hernandez received paid overtime as a result of the arrest. [Exhibit C at

91: 18-22]

       33.P    Mr. Williams was released with nothing, not his ID and not a property release.

[Exhibit A at 90: 6-9]

       34.P    Later, he returned to the car garage twice to attempt to recover his vehicle.

[Exhibit A at 111-112:23-3].

       35.P    The NYPD refused to provide Plaintiff his vehicle even though he had all the

documents necessary to show proof of ownership. [Exhibit A at 112-113:23-5]




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